               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

KELLIE LOEB,

                      Plaintiff,
                                                      Case No. 18-CV-494-JPS
v.

CHAMPION PETFOODS USA INC.
and CHAMPION PETFOODS LP,                                             ORDER

                      Defendants.


1.     INTRODUCTION

       Plaintiff, a Wisconsin consumer, asserts that Defendants, makers of

pet food, deceptively marketed their dog food as having various high-

quality attributes when this was not the case. Specifically, she claims that

Defendants’ product was contaminated with lead, arsenic, cadmium, and

mercury. On that basis, she brought the instant class action which states five

separate causes of action. (Docket #1). Three of the claims were dismissed

in the Court’s order addressing Defendants’ motion to dismiss. (Docket #19)

(the “Dismissal Order”). Defendants have filed a motion for summary

judgment addressing the two remaining claims and seeking dismissal of

the entire lawsuit. (Docket #33). For the reasons explained below,

Defendants’ motion must be granted.

2.     STANDARD OF REVIEW

       Federal Rule of Civil Procedure 56 provides that the “court shall

grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a); see Boss v. Castro, 816 F.3d 910, 916 (7th



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Cir. 2016). A “genuine” dispute of material fact is created when “the

evidence is such that a reasonable jury could return a verdict for the

nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

The Court construes all facts and reasonable inferences in a light most

favorable to the non-movant. Bridge v. New Holland Logansport, Inc., 815 F.3d

356, 360 (7th Cir. 2016).

       In assessing the parties’ proposed facts, the Court must not weigh

the evidence or determine witness credibility; the Seventh Circuit instructs

that “we leave those tasks to factfinders.” Berry v. Chicago Transit Auth., 618

F.3d 688, 691 (7th Cir. 2010). Internal inconsistencies in a witness’s

testimony “‘create an issue of credibility as to which part of the testimony

should be given the greatest weight if credited at all.’” Bank of Ill. v. Allied

Signal Safety Restraint Sys., 75 F.3d 1162, 1170 (7th Cir. 1996) (quoting Tippens

v. Celotex Corp., 805 F.2d 949, 953 (11th Cir. 1986)). The non-movant “need

not match the movant witness for witness, nor persuade the court that [its]

case is convincing, [it] need only come forward with appropriate evidence

demonstrating that there is a pending dispute of material fact.” Waldridge

v. Am. Hoechst Corp., 24 F.3d 918, 921 (7th Cir. 1994).

3.     RELEVANT FACTS

       Defendants sell many varieties of pet food. The two at issue in this

case are the dog foods Orijen Original and Orijen Senior. From November

2016 through March 2018, Plaintiff purchased Orijen Original and Orijen

Senior for her two dogs. She did so at various pet supply stores throughout

Wisconsin. The packaging of these products included many statements

about their quality and wholesomeness, including the following

(capitalization is preserved):




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       •       ORIJEN features FRESH, RAW or DEHYDRATED
               INGREDIENTS, from minimally processed poultry,
               fish and eggs that are deemed fit for human
               consumption prior to inclusion in our foods
       •       FRESH REGIONAL INGREDIENTS GROWN CLOSE
               TO HOME – We focus on local ingredients that are
               ethically raised by people we know and trust, and
               delivered to our kitchens fresh or raw each day
       •       WHOLEPREY DIET
       •       Nourish as Nature Intended – ORIJEN mirrors the
               richness, freshness and variety of WholePrey meats
               that dogs are evolved to eat
       •       MADE IN OUR USA KENTUCKY KITCHENS
       •       INGREDIENTS WE LOVE FROM PEOPLE WE
               KNOW AND TRUST
       •       TRUSTED BY PETLOVERS EVERYWHERE, ORIJEN
               IS THE FULLEST EXPRESSION OF OUR
               BIOLOGICALLY APPROPRIATE AND FRESH
               REGIONAL INGREDIENTS COMMITMENT

(Docket #36-3 at 7–15).

       The packaging does not specifically represent that the products are

free of heavy metals. Plaintiff believes that even without this express

statement, the general import of the packaging led her to believe that she

was purchasing a premium, healthy, locally sourced dog food, implicitly

free of harmful contaminants. Nonetheless, Defendants never intentionally

added heavy metals to their products. The heavy metals found therein are

naturally occurring, in that they were present in the plants and animals

which were processed into the food.1


       1 Plaintiff notes that, by operation of logic, Defendants did indeed add the
heavy metals to the products, just as they added every other ingredient. This is
both true and irrelevant. The point is that Defendants did not, for instance, dump
vats of lead into their products.


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       Defendants have offered evidence that the presence of heavy metals

in Orijen does not make the product harmful or dangerous.2 In 2005, the

National Research Council published a study titled Mineral Tolerance of

Animals (the “MTA”). The MTA describes maximum tolerable levels

(“MTL”) for various substances in pet food, including the heavy metals at

issue here. According to third-party lab studies commissioned by

Defendants, the levels of arsenic, cadmium, lead, and mercury in

Defendants’ products are but a fraction of the MTLs. Plaintiff questions the

reliability of these studies but has not performed any such studies on her

own.

       Defendants assert that the MTLs are widely accepted and relied

upon in determining safe levels of heavy metals in pet food. This is based

primarily on the testimony of Robert Poppenga (“Poppenga”), a veterinary

toxicologist hired by Defendants to offer an expert opinion in this matter.

Defendants further note that the MTA’s MTLs were later cited in a 2011

Food and Drug Administration document called the Target Animal Safety

Review Memorandum, which assess the potential danger of heavy metals

in pet food.3 Plaintiff attempts to question the reliability of the MTLs

because the MTA is old, and because the MTA itself cautions that the data

on mineral toxicity in pets is incomplete, thus undermining the usefulness


       2 Defendants claim that Plaintiff’s dogs did not suffer any adverse health
consequences from eating Orijen. Plaintiff disputes this, as one of her dogs has
cancer, and both have liver problems. Neither side has presented expert veterinary
opinions on the matter, so the Court is unable to determine who is correct.
       3Plaintiff suggests that the FDA’s memorandum simply used the MTL
figures and did not expressly adopt them, but regardless of semantics, the
memorandum repeatedly relied on the MTLs to evaluate whether certain pet foods
were safe. (Docket #48-7 at 4) (stating that the MTLs are appropriate for the
assessment of animal diets).


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of the MTLs when applied to those animals. However, she fails to offer any

expert opinion to counteract that supplied by Defendants.

       Plaintiff does submit other forms of contrary evidence. The FDA has

published a reference chart detailing the contaminant levels in various

consumer food products, entitled the Total Diet Study (“TDS”). Plaintiff

relies on the TDS as a comparator between the levels of heavy metals in

Defendants’ products versus those in consumer-bound chicken, turkey,

and eggs. She notes that the heavy metal levels in these human foods are

lower than in Defendants’ dog food, implying that Orijen is tainted and

unfit for human consumption. Defendants stress that the TDS is merely a

chart; it does not purport to establish dietary limits on heavy metals in any

species—human, dog, or otherwise. In fact, it contains no conclusions of

any kind. Because of this, Poppenga opines that the TDS is completely

unhelpful to the determination of what levels of such contaminants are safe

in food.

       Plaintiff has also obtained the expert opinion of Bobby Calder

(“Calder”), a scholar in the field of psychology and marketing, who states

that Orijen’s packaging is carefully designed to convey a belief to

consumers that the product is of high quality and made from fresh

ingredients which are fit for human consumption. Calder avers that the

packaging’s design would both consciously and unconsciously influence a

reasonable consumer to purchase Orijen. Calder concludes that “[t]o the

extent that the Orijen . . . failed to provide the high quality, fit for human

consumption, biologically appropriate based on evolution, whole animal

raw and fresh ingredients that their packaging led consumers to expect,

consumers would have been misled[.]” (Docket #49-14 at 11).




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       Finally, Plaintiff points out a number of other quality issues with

Defendants’ products, including the use of expired and frozen ingredients

and those labeled as unfit for human consumption, the inclusion of heavily

processed animal meal and rendered fats, the addition of regrinds (the

ground-up remains of prior production runs of dog food), lack of regionally

sourced ingredients, but rather the use of ingredients from around the

globe, the presence of contaminants like hair, bugs, bones, and plastic, and

the possibility that Defendants did not actually know the origin of all of

their ingredients. Defendants dispute both the truth of Plaintiff’s claims

and, assuming their truth, their relevance. Plaintiff’s complaint rests its

allegations of substandard quality on one issue: the presence of heavy

metals in the products. It says nothing about any of the other quality

problems Plaintiff now raises.4


       The only statement of fact dealing directly with heavy metals in
       4

Defendants’ products is the following:
               Champion has run a handful of laboratory feeding trials
       wherein a small number of laboratory dogs are fed Champion
       foods for a period of approximately six months and monitored.
       Christine Caswell Dep. (“Caswell Dep.”) 22:21–24:26, attached as
       Exhibit 9. In 2011, one of Champion’s most heavily contaminated
       diets, ORIJEN Six Fish, failed an AAFCO feeding trial because two
       of the test animals were found to have elevated levels of the liver
       enzyme ALT. Caswell Dep. 99:6–100:5. Rather than take any
       measures to determine the cause of the failure (which in all
       likelihood was the astronomical levels of heavy metals contained in
       the diet), Champion decided to attempt the trial again and never
       determined the cause of the failure. Caswell Dep. 100:6–13. This is
       part of a dangerous and unscientific practice at Champion: when a
       test shows an undesirable outcome, retest until the outcome is good
       then stop[.]
(Docket #56 at 17–18). There are two problems with this statement, however, that
make it useless for purposes of this case. First, the testing was done for Orijen Six
Fish, not the products Plaintiff purchased, Orijen Original and Senior. Second, and


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4.     ANALYSIS

       As noted above, the theme of this lawsuit is that while Orijen’s

packaging touts a healthy, fresh, regionally sourced product, containing

ingredients which are biologically appropriate and fit for human

consumption, the heavy metals found within it render these assertions

untrue. (Docket #1 at 3–5).5 Both of Plaintiff’s claims which have survived

to this stage of the case are based on this theme. The first claim (Count I of

the complaint) asserts that Defendants have violated the Wisconsin

Deceptive Trade Practices Act (“WDTPA”), Wis. Stat. § 100.18, by

misrepresenting Orijen’s quality, thereby inducing consumers to purchase

the product at a premium price, when they either would not have paid that

price or purchased the product at all. Similarly, the second claim (Count V

of the complaint) contends that Defendants have been unjustly enriched by

selling dog food at an inflated price which they knew was polluted with

heavy metals. Defendants seek dismissal of both claims. The Court will

address each in turn.

       4.1    WDTPA

       The purpose of the WDTPA “is to deter sellers from making false

and misleading representations in order to protect the public.” Novell v.

Migliaccio, 749 N.W.2d 544, 550 (Wis. 2008). Toward that end, Section 100.18


more importantly, Plaintiff provides no expert scientific evidence to support her
belief stated in the parenthetical that “in all likelihood” the tested dogs became
sick because of “the astronomical levels of heavy metals” in the food. Such an
assertion cannot be based simply on her say-so.
       5Plaintiff’s complaint also accuses Defendants of employing similar
deception with respect to their Acana brand dog food. See generally (Docket #1).
However, Plaintiff admitted in her deposition that she never purchased Acana.
The parties do not discuss Acana in their summary judgment submissions, and so
the Court will treat the allegations regarding Acana as withdrawn.


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prohibits the use of marketing statements for products or services which

“contain[] any assertion, representation or statement of fact which is

untrue, deceptive or misleading.” Wis. Stat. § 100.18(1). A cause of action

pursuant to Section 100.18 requires proof of three elements: “(1) the

defendant made a representation to the public with the intent to induce an

obligation, (2) the representation was ‘untrue, deceptive or misleading,’ and

(3) the representation materially induced (caused) a pecuniary loss to the

plaintiff.” Novell, 749 N.W.2d at 553.

       Defendants offer a number of arguments for dismissal of specific

aspects of Plaintiff’s WDTPA claim. These include that Plaintiff may not

have read certain statements on Orijen’s packaging, (Docket #34 at 15–17),

that other statements she did read are non-actionable opinions rather than

assertions of fact, id. at 17–21, and that none of the statements are rendered

misleading by the mere presence of heavy metals in the food, id. The Court

need not address these arguments because Plaintiff’s claim fails for lack of

evidence as to her most salient allegation—that the heavy metal levels in

Orijen make the food harmful or otherwise of poor quality.

       Careful consideration of the precise nature Plaintiff’s claim, the

Court’s statements in the Dismissal Order, and the evidence presented at

this stage, leads to this result. As presented in the complaint, the logic of the

WDTPA claim is as follows. Defendants advertise Orijen as being of high

quality and, accordingly, charge a premium price for the product. Plaintiff

relied on these representations when she made her purchases. However,

the products were, in fact, of low quality because they are “contaminated

with excessive quantities of heavy metals[.]” (Docket #1 at 4) (emphasis

added). Indeed, she claims that the concentrations of such metals in Orijen

are “dangerous,” in that they can cause harm to dogs and are higher than


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that found in human food. Id. at 4–5. Thus, Defendants’ statements of

quality are misleading, and Plaintiff would not have bought Orijen had she

known this. Id. at 5, 8.

       In their motion to dismiss, filed more than eight months ago,

Defendants advanced a number of arguments to defeat this claim. First,

they asserted that the claim failed for lack of evidence that the dog food was

harmful. Specifically, the heavy metal concentrations found in Orijen were

disclosed by Defendants themselves in a white paper (the “White Paper”).

(Docket #19 at 4). With reference to the MTA’s MTL analysis, the White

Paper argued that the heavy metal concentrations were well below harmful

levels. Id. at 4, 6. Defendants believed that to survive their motion to

dismiss, Plaintiff was required to adduce evidence which contradicted the

White Paper. Id. at 6. The Court disagreed:

               The point of Plaintiff’s lawsuit is to disagree with the
       conclusions reached by the White Paper, while nonetheless
       relying on its factual representations regarding heavy metal
       levels in Defendants’ products. What Defendants need to
       counter Plaintiff’s allegations is additional evidence on what
       constitutes “safe” concentrations of heavy metals in dog food
       and what is meant by “fit for human consumption.” That, of
       course, is not the proper subject of a motion to dismiss.
               ...
               Defendants emphasize that Plaintiff “cannot have it
       both ways with the White Paper. Plaintiff cannot on the one
       hand utilize the White Paper for the alleged levels of heavy
       metals in Champion’s dog food while on the other also ignore
       the MTLs utilized in the White Paper.” (Docket #17 at 5). To
       the contrary, Plaintiff may use Defendants’ data while
       simultaneously disagreeing with their analysis thereof. This
       is particularly true because Defendants concede that there are
       no FDA regulations for the subject heavy metals in dog food.
       Id. Certainly, at the appropriate stage, Plaintiff will be called
       upon to produce evidence of what is considered safe for dog


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       food. Defendants will be free to submit contrary evidence.
       The trier of fact will decide who is right.

Id. at 6–7.

       Second, and in a similar vein, Defendants argued that Plaintiff’s

allegations did not meet the requisite level of plausibility to state a claim for

relief. Defendants suggested that Plaintiff was obligated to define what she

believed was an “excessive” or “dangerous” level of heavy metals, namely

by reference to scientific studies. Id. at 9. The Court found such allegations

unnecessary. Plaintiff adequately pleaded that the products contained

excessive heavy metals and that Defendants’ deception caused her to buy

them. Id. at 10. Plaintiff was also not required to plead that she or her pet

were physically harmed by the contaminated food. Id. Instead, the thrust of

her complaint is “about paying too much for what she maintains was a low-

quality product.” Id.

       As with their motion to dismiss, Defendants rest their instant motion

on factual contentions. Now that they have submitted a motion for

summary judgment, their arguments are appropriate and the Court can

address issues of fact. Defendants offer Poppenga’s expert opinion to

establish that their products are not made unsafe by the presence of heavy

metals. In particular, he opines that the MTLs “are the best and most widely

used scientific guidance available to veterinary toxicology and nutrition

experts for determining what are safe levels of heavy metals in dog food.”

(Docket #36-6 at 6–7). Poppenga further notes that Orijen’s heavy metal

concentrations “are present at a safe level” because they are “well below

the respective MTLs.” Id. at 9.




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       Plaintiff offers no contrary expert opinions.6 Instead, she makes two

arguments seeking to undermine Poppenga’s opinions, but neither has

merit. First, Plaintiff contends that the MTLs are not as useful as Poppenga

believes. She claims that the MTA is outdated and that it contains

statements suggesting that the MTLs should be used with caution.

Whatever Plaintiff’s personal beliefs about the merit of utilizing the MTLs

as Poppenga has done, her lay views cannot contradict the opinion of an

expert in veterinary toxicology.

       Second, Plaintiff notes that the heavy metal levels in Orijen are

higher than those in the chicken, turkey, and eggs tested in the TDS. This

observation is both true and irrelevant. Poppenga notes that the TDS merely

provides the heavy metal concentrations in various store-bought foods. It

does not say whether those concentrations are safe, unsafe, or otherwise

provide a scientific assessment of the data. It is, as the Court earlier

observed in the Dismissal Order, merely a reference chart. (Docket #19 at

8).

       Plaintiff thus lacks any affirmative proof that Orijen contains

concentrations of heavy metals which “are excessive, dangerous, and

render [Defendants’] representations regarding the Products, including the

packaging of the Products, false and misleading.” (Docket #1 at 4). Whereas

this was not an issue at the pleadings stage, in the context of summary

judgment, she was required to adduce evidence sufficient for a reasonable

trier of fact to agree with her claim as alleged. While it is undisputed that

Orijen contains heavy metals, Plaintiff has failed to create a genuine dispute


       Calder’s opinion is of no help here, as it assumes that Orijen is excessively
       6

contaminated with harmful heavy metals. Calder offers nothing to support that
assumption, which is unsurprising, as his expertise is in marketing, not toxicology.


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as to whether the heavy metal concentrations therein are excessive or

dangerous. The Court has no idea whether she was unable to locate an

expert to offer such an opinion, or if she simply chose not to expend the

resources to secure expert testimony on the subject. Either way, she has not

established the essential basis of the claim she pleaded.

       Critically, the Court may only consider the claim as pleaded. In

response to Defendants’ motion, Plaintiff expended little effort buttressing

her allegations of excessive heavy metal levels. Instead, she shifted her

focus to other quality concerns, such as the inclusion of plastic, hair, bone,

and other contaminants in Defendants’ products, as well as the far-flung

and potentially unsanitary sources for their ingredients. Her complaint

contains not a whisper about such allegations, however, and she cannot

make such a drastic change to the factual basis of her claim in response to a

motion for summary judgment. Chessie Logistics Co. v. Krinos Holdings, Inc.,

867 F.3d 852, 860 (7th Cir. 2017). Neither does Plaintiff plead a simpler form

of her claim: that Orijen is misleadingly advertised as healthy because of

mere presence of any heavy metals. She decided to plead a rather particular

claim—that the packaging is deceptive because of excessive and dangerous

heavy metals—and failed to prove it. At no time did Plaintiff seek leave to

amend her complaint to adopt either or both of these theories, and the Court

will not grant such relief sua sponte.7


       7 Plaintiff likely did not plead the latter theory because it is absurd. If a
WDTPA claim would lie whenever a product is marketed as healthful, but
nevertheless contains naturally occurring heavy metals at levels not shown to be
harmful, then in light of the data in the TDS, consumers would have grounds to
sue the manufacturer of nearly every product in a typical grocery store. True,
Plaintiff need not show actual injury to herself or her pets. But she must at least
offer some evidence of potential harm to establish a form of genuine deception on
Defendants’ part. Otherwise, every manufacturer would be required to disclose


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       On the undisputed evidence presented, Plaintiff has not raised a

triable issue as to the second element of her WDTPA claim—that

Defendants’ representations were “untrue, deceptive or misleading[.]”

Novell, 749 N.W.2d at 553. More precisely, she has not adduced evidence

sufficient for a reasonable jury to agree with her theory of the case. Again,

the Court offers no opinion as to whether such evidence could be obtained,

or whether a differently pleaded theory might have survived Defendants’

motion. Nevertheless, as it stands, the WDTPA claim must be dismissed.

       4.2    Unjust Enrichment

       To establish unjust enrichment, a plaintiff must prove three things:

“(1) a benefit conferred on the defendant by the plaintiff; (2) appreciation

or knowledge by the defendant of the benefit; and (3) acceptance or

retention of the benefit by the defendant under circumstances making it

inequitable to do so.” Sands v. Menard, 904 N.W.2d 789, 798 (Wis. 2017). Two

district courts applying Wisconsin law have held that the benefit in

question must be conferred directly to the defendant and not, for instance, a

third-party retailer. Blitz v. Monsanto Co., 317 F. Supp. 3d 1042, 1055–56

(W.D. Wis. 2018); Emirat AG v. High Point Printing LLC, 248 F. Supp. 3d 911,

936–37 (E.D. Wis. 2017).

       Plaintiff makes no attempt to distinguish these cases. She merely

states in a conclusory fashion that Defendants benefitted from her purchase

of Orijen. (Docket #47 at 22–23). While that may be factually correct, it is not

a reasoned basis to ignore the opinions cited by Defendant. The Court

agrees with the other district courts and holds that Sands means what it



that their products contain heavy metals or be barred from making any assertion
of quality about the products.


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says; the benefit conferred must be from the plaintiff to the defendant. The

Court will not expand on that definition where Plaintiff refuses to make

even a minimal effort to supply contrary authority.

       Plaintiff’s unjust enrichment claim thus fails for two independent

reasons. First, in accordance with the Court’s analysis of the WDTPA claim,

Plaintiff has failed to raise a genuine dispute of fact as to whether the heavy

metals in Defendants’ products render their marketing statements

misleading. Plaintiff thus cannot establish the inequity required by the third

element of her unjust enrichment claim. Second, it is undisputed that

Plaintiff bought Orijen in various pet supply stores, not from Defendants

directly. Consequently, the first element is also left wanting. The unjust

enrichment claim cannot go to the jury.

5.     CONCLUSION

       In light of the foregoing, Defendants’ motion for summary judgment

must be granted and this action will be dismissed with prejudice. Plaintiff’s

pending motion for class certification will be denied as moot. (Docket #39).

The Court will also grant two of Plaintiff’s motions to seal related to a

settlement report and summary judgment submissions, respectively.

(Docket #31 and #46). She filed an additional motion to seal regarding class

certification materials, (Docket #38), but the parties have now stipulated

that the motion is unnecessary, (Docket #58). The Court will therefore deny

the motion to seal as moot.

       Accordingly,

       IT IS ORDERED that Defendants’ motion for summary judgment

(Docket #33) be and the same is hereby GRANTED;

       IT IS FURTHER ORDERED that Counts One and Five of Plaintiff’s

complaint be and the same are hereby DISMISSED;


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       IT IS FURTHER ORDERED that Plaintiff’s motions to seal (Docket

#31 and #46) be and the same are hereby GRANTED;

       IT IS FURTHER ORDERED that Plaintiff’s motion to unseal

documents filed in support of her motion for class certification (Docket #41)

be and the same is hereby GRANTED;

       IT IS FURTHER ORDERED that Plaintiff’s motion to seal

documents filed in support of her motion for class certification (Docket #38)

be and the same is hereby DENIED as moot, and the Clerk of the Court is

directed to unseal the attachments to Docket #40 and docket as unsealed

Docket #39-1;

       IT IS FURTHER ORDERED that Plaintiff’s motion for class

certification (Docket #39) be and the same is hereby DENIED as moot; and

       IT IS FURTHER ORDERED that this action be and the same is

hereby DISMISSED with prejudice.

       The Clerk of the Court is directed to enter judgment accordingly.

       Dated at Milwaukee, Wisconsin, this 6th day of February, 2019.

                                   BY THE COURT:



                                   ____________________________________
                                   J. P. Stadtmueller
                                   U.S. District Judge




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